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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

UNITED STATES OF AMERICA
                                        Plaintiff,
v.                                                     Case No.: 1:12−cr−00723
                                                       Honorable Matthew F. Kennelly
Adel Daoud
                                        Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, May 4, 2023:


       MINUTE entry before the Honorable Matthew F. Kennelly as to Adel Daoud: In
person status hearing held on 5/4/2023. Sentencing hearing date of 6/20/2023 is vacated.
Sentencing hearing is reset to 6/22/2023 and 6/23/2023 at 9:30 a.m. The Government is to
provide a copy of the applicable Touhy regulations to Mr. Daoud by 5/9/2023. The
defendant is directed to file a list of his sentencing witnesses plus a summary for each
witness by 5/26/2023. The defendant has leave to file the list under seal. In person status
hearing is set for 6/2/2023 at 1:15 p.m. The Court will make the necessary arrangements
to have the appear for the status hearing. Mailed notice. (mma, )




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